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          IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION




 UNITED STATES OF AMERICA,
       Plaintiff,                                 MEMORANDUM DECISION AND
                                                  ORDER GRANTING
                                                  DEFENDANT’S MOTION TO
                                                  MODIFY FILE PAYMENT
                                                  SCHEDULE


               vs.


 JOSEPH ANTHONY FABIILLI,                         Case No. 2:98-CR-278 TS
       Defendant.




      Defendant moves to modify his fine payment schedule based on a change in his

economic circumstances. On July 12, 2006, Defendant was sentenced to 24 months

incarceration, 36 months supervised release, and a fine of $500,000. Based on the

financial information contained in the Presentence Report, the fine payment schedule

requires payments of $12,000 a month.

      Defendant is now on supervised release and is working in a different and less

lucrative field than when he was sentenced. He moves to adjust his fine payment schedule

under 18 U.S.C. § 3572(d)(3). That section requires Defendant notify the Court of “any

material change in the defendant’s economic circumstances that might affect the

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Defendant’s ability to pay the fine.”1 The Court may then “adjust the payment schedule,

or require immediate payment in full, as the interests of justice require.”2

       The Court finds that Defendant has shown a material change in his economic

circumstances that affect his ability to pay the fine. Defendant has shown that he is no

longer able to make payments as scheduled. This showing includes the current income

of Defendant and his wife. Based on the information provided, the government does not

oppose a modification.

       The parties agree that a fine payment schedule based on a payment of ten percent

of Defendant’s gross income each month would be appropriate under his current economic

circumstances.

       The Court finds it is in the interest of justice to adjust the fine payment schedule

from $12,000 a month to an amount equal to ten percent of Defendant’s gross monthly

income. Defendant is reminded that, under 18 U.S.C. § 3572(d)(3), he remains obligated

to notify the Court of any further material changes in his economic circumstances that

affect his ability to pay the fine, including changes that would materially increase his ability

to pay.

       On its own Motion, the Court has sealed the exhibits to Defendant’s Motion under

Fed. R. Crim. P. 49.1(e)(2) for good cause. Counsel are reminded that documents should

comply with Rule 49.1(a)(5)’s redaction provisions. It is therefore



       1
           18 U.S.C. § 3572(d)(3).
       2
           Id.

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      ORDERED that Defendant’s Motion to Modify Fine Payment Schedule (Docket No.

492) is GRANTED. It is further

      ORDERED that Defendant’s fine payment schedule of $12,000 a month is amended

to require payments of ten percent of Defendant’s gross monthly income.

      DATED January 26, 2009.

                                       BY THE COURT:


                                       _____________________________________
                                       TED STEWART
                                       United States District Judge




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